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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                Holding a Criminal Term

                         Grand Jury Sworn in on January 8, 2016



UNITED STATES OF AMERICA                               CRIMINAL NO. 1:16-CR-00229

            V.

RUBEN OSEGUERA-GONZALEZ,                               21 U.S.C. §§959(a), 960, and 963
        also known as                                  (Conspiracy to Distribute Five Kilograms or
        "Menchito," "Rubencito,"                       More of Cocaine, 500 grams or more of
        "Rojo," "Ruso," "Junior," and                  methamphetamine, Knowing and Intending
        "El Nino,"                                     that it will be Unlawfully Imported into the
                                                       United States.)
            Defendant.
                                                        18 U.S.C. §§ 924(c)(1)(A)(i),
                                                        924(c)(1)(A)(ii), 924(c)(1)(B)(ii)
                                                        (Use and Possession of a Firearm)

                                                        18 U.S.C. §2
                                                        (Aiding and Abetting)

                                                        21 U.S.C. §§ 853 and 970
                                                        (Forfeiture)




                             SUPERSEDING INDICTMENT

      The Grand Jury charges that:

                                       COUNT ONE

      From in or around 2007, and continuing to the date of the filing of this Indictment, in the

countries of Mexico, the United States and elsewhere, the Defendant, RUBEN OSEGUERA-

GONZALEZ, also known as "Menchito," "Rubencito," "Rojo," "Ruso," "Junior," and "El

Nino," together with others, both known and unknown to the Grand Jury, did knowingly,
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intentionally, and willfully conspire to distribute: (1) five (5) kilograms or more of a mixture and

substance containing a detectable amount of cocaine, a Schedule II controlled substance; and (2)

five hundred (500) grams or more of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, knowing and intending that such substances

would be unlawfully imported into the United States from a place outside thereof, in violation of

Title 21, United States Code, Section 959(a); all in violation of Title 21, United States Code,

Section 963 and Title 18, United States Code, Section 2.

        With respect to the Defendant, the controlled substances involved in the conspiracy

attributable to him as a result of his own conduct, and the conduct of other conspirators reasonably

foreseeable to him, is five (5) kilograms or more of a mixture and substance containing a detectable

amount of cocaine and five hundred (500) grams or more of a mixture or substance containing a

detectable amount of methamphetamine in violation of Title 21, United State's Code, Sections

960(b)(1)(B) and 960(b)(1)(H), respectively.

        (Conspiracy to Distribute Five Kilograms or More of Cocaine and 500 Grams or
        More of Methamphetamine Knowing and Intending that it would be Imported into
        the United States in violation of Title 21, United States Code, Sections 959(a), 960
        and 963, and Title 18, United States Code, Section 2.)

                                           COUNT TWO

         From in or about 2007, and continuing thereafter, up to and including the date of the filing

 of this Indictment, both dates being approximate and inclusive, pursuant to Title 18, United States

 Code, Section 3238, within the venue of the United States District Court fpr the District of

 Columbia, the defendant RUBEN OSEGUERA-GONZALEZ, also known as "Menchito,"

 "Rubencito," "Rojo," "Ruso," "Junior," and "El Nino," did knowingly and intentionally use,

 carry and brandish firearms, including destructive devices, during and in relation to one or more

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drug trafficking crimes, to wit: the crime charged in Count One, and did knowingly and

intentionally possess firearms, including destructive devices, in furtherance of such drug

trafficking crimes, in violation of Title 18, United States Code, Sections 924(c)(1)(A)(i),

924(c)(1)(A)(ii), 924(c)(1)(B)(ii), and Title 18, United States Code, Section 2.

                            (Use and Possession of a Firearm.)

                                 FORFEITURE ALLEGATION

       The United States hereby gives notice to the Defendant that upon conviction of the Title

21 offense alleged in Count One of this Indictment, the government will seek forfeiture in

accordance with Title 21, United States Code, Sections 853 and 970, of all property constituting

or derived from any proceeds the Defendant obtained directly or indirectly as a result of the alleged

Title 21 violation, and all property used or intended to be used in any manner or part to commit

and to facilitate the commission of such offense.

        Said property includes, but is not limited to:

A sum of money equal to all proceeds the Defendant obtained directly or indirectly as a result of

 the Title 21 offense charged in this indictment, and all property used or intended to be used to

 facilitate such offense, that is, not less than a sum of money representing the amount of funds

 involved in the offense, and all interest and proceeds traceable thereto; in that such sum, in

 aggregate, was received by the Defendant in exchange for the distribution of controlled substances

 or is traceable thereto. If any of the above-described forfeitable property, as a result of any act or

 omission of the Defendant:

                (a)     cannot be located upon the exercise of due diligence;

                (b)     has been transferred or sold to, or deposited with, a third person;


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               (c)     has been placed beyond the jurisdiction of the Court;

               (d)     has been substantially diminished in value; or

               (e)     has been commingled with other property which cannot be subdivided

                       without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p) to
seek forfeiture of any other property of the said Defendant up to the value of the above forfeitable

property.

        (Criminal Forfeiture, in violation of Title 21, Untied States Code, Sections 853 and
        970.)


                                                       A TRUE BILL:



                                                       Foreperson



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                                                       ART           W AT
                                                       Chief
                                                       Narcotic and Dangerous Drug Section
                                                       U.S, Department of Justice
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                                               By:
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